     Case 2:07-cr-00165-TLN-KJN Document 309 Filed 08/31/15 Page 1 of 3



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     LUIS MANUEL SANCHEZ-ACEVES
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8
                                             UNITED STATES DISTRICT COURT
9
                                            EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. Cr. S 07-165 MCE
12                             Plaintiff,                STIPULATED MOTION AND ORDER TO
13                                                       REDUCE SENTENCE PURSUANT TO 18
               v.                                        U.S.C. § 3582(c)(2)
14
     LUIS MANUEL SANCHEZ-ACEVES,                         RETROACTIVE DRUGS-MINUS-TWO
15                                                       REDUCTION CASE
                               Defendant.
16                                                       Judge: Honorable MORRISON C. ENGLAND, JR.

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               Defendant, LUIS MANUEL SANCHEZ-ACEVES, by and through his attorney,
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     Assistant Federal Defender Hannah R. Labaree, and plaintiff, UNITED STATES OF
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     AMERICA, by and through its counsel, Assistant U.S. Attorney Jason Hitt, hereby stipulate as
20
     follows:
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               1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of
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     imprisonment in the case of a defendant who has been sentenced to a term of imprisonment
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     based on a sentencing range that has subsequently been lowered by the Sentencing Commission
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     pursuant to 28 U.S.C. § 994(o);
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               2.         On May 25, 2010, this Court sentenced Mr. Sanchez-Aceves to a term of 156
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     months imprisonment;
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     Stipulation and Order Re: Sentence Reduction         1
     Case 2:07-cr-00165-TLN-KJN Document 309 Filed 08/31/15 Page 2 of 3



1              3.         His total offense level was 39, his criminal history category was III, and the
2    resulting guideline range was 324 to 405 months. He received a reduction from the low-end of
3    the range on the government’s motion;
4              4.         The sentencing range applicable to Mr. Sanchez-Aceves was subsequently
5    lowered by the United States Sentencing Commission in Amendment 782, made retroactive on
6    July 18, 2014, see 79 Fed. Reg. 44,973;
7              5.         Mr. Sanchez-Aceves’ total offense level has been reduced from 39 to 37, his
8    amended guideline range is 262 to 327 months. A reduction comparable to the one he received
9    initially produces a term of 126 months;
10             6.         Accordingly, the parties request the Court enter the order lodged herewith
11   reducing Mr. Sanchez-Aceves’ term of imprisonment to a total term of 126 months.
12   Respectfully submitted,
13   Dated: August 26, 2015                             Dated: August 26, 2015
14   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
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16    /s/ _Jason Hitt                                   /s/ Hannah R. Labaree
     JASON HITT                                         HANNAH R. LABAREE
17   Assistant U.S. Attorney                            Assistant Federal Defender
18   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           LUIS MANUEL SANCHEZ-ACEVES
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     Stipulation and Order Re: Sentence Reduction           2
     Case 2:07-cr-00165-TLN-KJN Document 309 Filed 08/31/15 Page 3 of 3



1                                                   ORDER
2              This matter came before the Court on the stipulated motion of the defendant for reduction
3    of sentence pursuant to 18 U.S.C. § 3582(c)(2).
4              The parties agree, and the Court finds, that Mr. Sanchez-Aceves is entitled to the benefit
5    Amendment 782, which reduces the total offense level from 39 to 37, resulting in an amended
6    guideline range of 262 to 327 months. A reduction comparable to the one he received initially
7    produces a term of 126 months.
8              IT IS HEREBY ORDERED that the term of imprisonment imposed in May 2010 is
9    reduced to a term of 126 months.
10             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
11   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
12   reduction in sentence, and shall serve certified copies of the amended judgment on the United
13   States Bureau of Prisons and the United States Probation Office.
14             Unless otherwise ordered, Mr. Sanchez-Aceves shall report to the United States
15   Probation Office within seventy-two hours after his release.
16             IT IS SO ORDERED.
17   Dated: August 31, 2015
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     Stipulation and Order Re: Sentence Reduction       3
